Case 2:OO-cr-20079-.]DT Document 395 Filed 04/25/05 Page 1 of 2 Page|D 423

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IN THE UNITED STATES DISTRICT COURT """""":D
FOR THE WESTERN DISTRICT OF TENNESSEE 95 APR 25 PH 2= 31

 
 

 

EASTERN DIVISION Ri'.')`_:`.~ -‘S' fr ;HOU
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1 1\! JACKSQN
UNITED STATES OF AMERICA, )
)
Plaimiff, )
)
VS. ) Nc). 00-20079
)
ROBERT WARD, )
)
Defendant. )
ORDER OF TRANSFER

 

Because defendant Robert Ward now resides in the Eastern Division, this action is
hereby transferred from the Western Division to the Eastern Division.

IT IS SO ORDERED.

AWZ)QHQ(

WS D. TODD
UNITED STATES DISTRICT JUDGE

QS'Q,MLMS

DATE

Th\s document entered on the docket sheet in carn,pg:;nce
with Rule 55 and!or 32(b) FRCrP on

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Honorable Bernice Donald
US DISTRICT COURT

